      Case 4:10-cr-00696 Document 112 Filed on 02/14/12 in TXSD Page 1 of 1




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA                    §
                                            §
                                            §
                                            §
VS.                                         §   CRIMINAL NO. H-10-696-1
                                            §
                                            §
                                            §
JESSE SANCHEZ                               §


                                       ORDER

       The defendant filed an unopposed motion to extend the deadline for filing objections

and for a continuance of the sentencing hearing, (Docket Entry No. 111). The motion for

continuance is GRANTED. The sentencing hearing is reset to March 20, 2012 at 9:00 a.m.

Objections to the presentence report are to be filed by March 5, 2012.

             SIGNED on February 14, 2012, at Houston, Texas.

                                           ______________________________________
                                                      Lee H. Rosenthal
                                                 United States District Judge
